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          In the United States Court of Federal Claims
                                         No. 13-377C
                                   (Filed: August 12, 2013)

                                             )
CYNTHIA A. CASALINA,                         )
                                             )
                      Plaintiff,             )
                                             )
v.                                           )
                                             )
THE UNITED STATES,                           )
                                             )
                      Defendant.             )
                                             )


           ORDER GRANTING UNOPPOSED MOTION TO TRANSFER

       The court is in receipt of the government’s August 5, 2013 unopposed motion to
transfer this case to the United States District Court for the District of New Mexico.
Plaintiff Cynthia Casalina, an employee in the Los Alamos, New Mexico Field Office of
the National Nuclear Security Administration, a division of the Department of Energy,
filed her complaint in this court on June 6, 2013. The complaint alleges that the National
Nuclear Security Administration violated Title VII of the Civil Rights Act, 42 U.S.C. §
2000e, et seq., and the Equal Pay Act, 29 U.S.C. § 206(d)(1), by paying Ms. Casalina a
lower salary than her male colleague although they are equally qualified, work out of the
Los Alamos Field Office, share responsibilities, possess the same expertise and perform
substantially the same job duties. The complaint alleges that all “relevant actions took
place in New Mexico.” Compl. ¶ 4. On June 7, 2013, Ms. Casalina filed a virtually
identical complaint in the United States District Court for the District of New Mexico, in
which Ms. Casalina indicates that she “does not intend to seek double recovery for the
same damages” sought in her complaint in this court. Def.’s Mot., App. at A2.

         Pursuant to 28 U.S.C. § 1631, “[w]henever a civil action is filed in a court . . . and
that court finds that there is a want of jurisdiction, the court shall, if it is in the interest of
justice, transfer such action . . . to any other such court in which the action . . . could have
been brought at the time it was filed.” See Jan’s Helicopter Serv., Inc. v. FAA, 525 F.3d
1299, 1303-04 (Fed. Cir. 2008). When an action is transferred, the action “shall proceed
as if it had been filed in . . . the court to which it is transferred on the date upon which it
was actually filed in” the transferring court. 28 U.S.C. § 1631. The Federal Circuit has
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held that the “propriety” of a transfer depends on the lack of subject matter jurisdiction in
the transferring court and the existence of subject matter jurisdiction in the court to which
a case is transferred. Jan’s Helicopter, 525 F.3d at 1304.

        It is well settled that claims alleging discrimination on the basis of sex pursuant to
Title VII fall within the exclusive jurisdiction of the federal district courts. Flowers v.
United States, 321 F. App’x 928, 934 (Fed. Cir. 2008). This court therefore lacks
jurisdiction over Ms. Casalina’s Title VII claim. At the time this action was filed in this
court, Ms. Casalina’s Title VII claim could have been brought in the United States
District Court for the District of New Mexico. Indeed, one day after this complaint was
filed, Ms. Casalina filed an identical action in that district court. As the motion to
transfer is unopposed, neither party would be prejudiced by a transfer. In addition, upon
transfer of her Title VII claim to the District Court for the District of New Mexico, 28
U.S.C. § 1500 would bar this court’s consideration of her Equal Pay Act claim based on
identical facts. See Harbuck v. United States, 378 F.3d 1324, 1327-29 (Fed. Cir. 2004). 1
Moreover, Ms. Casalina has indicated in her complaint filed in the District of New
Mexico that she does not seek “double recovery” for her claims filed in this court. The
court therefore concludes that transfer would serve the interest of justice.

      Accordingly, the court GRANTS the government’s motion and TRANSFERS
Ms. Casalina’s complaint to the United States District Court for the District of New
Mexico.

       IT IS SO ORDERED.



                                                           s/Nancy B. Firestone
                                                           NANCY B. FIRESTONE
                                                           Judge




1
 As such, the court does not reach the government’s argument regarding the application of
United States v. Bormes, 133 S. Ct. 12 (2012) to Ms. Casalina’s Equal Pay Act claim.


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